         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:00cr221


UNITED STATES OF AMERICA,   )
                            )
                            )
            vs.             )                        ORDER
                            )
                            )
CHRISTOPHER EDWARD WINGATE. )
                            )



     THIS MATTER is before the Court on the Government’s Motion for

Extension of Time [Doc. 71], filed June 2, 2008.

     On February 21, 2008, the Defendant, acting pro se, filed a Motion to

Reduce Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc. 66] and a

Motion for Appointment of Counsel [Doc. 67]. On May 21, 2008, the

Defendant through counsel filed a second Motion for Reduction of

Sentence Pursuant to 18 U.S.C. §3582(c)(2). [Doc. 68]. The Probation

Office has not yet filed a Supplement to the Presentence Report Pursuant

to Crack Cocaine Guideline Amendment or a Sentencing Recommendation

Pursuant to Crack Cocaine Guideline Amendment.




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     The Court will grant the Government’s motion to the extent that its

response must be filed on or before two business days after the Probation

Office files its Supplement and Sentencing Recommendation.

     IT IS, THEREFORE, ORDERED that the Government’s Motion for

Extension of Time [Doc. 71] is hereby GRANTED and the Government’s

response to the motions shall be filed on or before two business days after

the filing by the Probation Office of its Supplement to the Presentence

Report Pursuant to Crack Cocaine Guideline Amendment and its

Sentencing Recommendation Pursuant to Crack Cocaine Guideline

Amendment.




                                     Signed: June 5, 2008




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